      Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 1 of 26




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

DR. DONALD RAGGIO
DR. CHRIS RAGGIO                                                                     PLAINTIFFS

V.                                                                     CAUSE NO. 3:19-cv-00022

MTGOX, Inc., a Delaware corporation;
CODE COLLECTIVE, LLC, a New York limited liability company;
JED McCALEB, an individual                                                       DEFENDANTS


     JED MCCALEB AND CODE COLLECTIVE, LLC’S MEMORANDUM IN
SUPPORT OF RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION TO REMAND


       Plaintiffs brought this case in 2014, and it became removable for the first time in 2018

because of two events. First, the meteoric rise in the value of bitcoin caused the Japanese

Bankruptcy Court to dismiss the MTGOX liquidation proceedings and initiate a new rehabilitation

proceeding. Second, Plaintiffs filed a proof of claim in the MTGOX rehabilitation proceeding for

the first time in October 2018, claiming they are entitled to the same relief they seek in this case:

recovery of 9,406.33 bitcoins allegedly stolen from their MTGOX account. As the cases cited in

this brief establish, these two events created bankruptcy-related jurisdiction under 28 U.S.C. §

1452(a) and 28 U.S.C. § 1334(b).

       Plaintiffs simultaneously maintain two inconsistent premises: (1) that this case is not

bankruptcy-related, and (2) that removal is untimely because it was bankruptcy-related in 2014

when the MTGOX liquidation proceeding was filed. But if the claims are not related now, the case

was not removable as bankruptcy-related in 2014. In fact, Defendants’ removal is both

jurisdictionally proper and timely. Defendants removed this case within ninety days of the “order

for relief”—the Texas Bankruptcy Court’s December 11, 2018 order recognizing the newly-

                                                 1
      Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 2 of 26




initiated rehabilitation proceeding. See Fed. R. Bankr. P. 9027(a)(2). Also, Defendants removed

this case within thirty days of receipt of both an “order” and an “other paper” showing the case

was removable under bankruptcy-related jurisdiction because the December 11, 2018 order

recognizing the liquidation proceeding constitutes an “order” and the Plaintiffs’ Proof of Claim

constitutes an “other paper.” See 28 U.S.C. § 1446(b)(3). Each of these bases independently satisfy

the timeliness requirement.

       Plaintiffs’ Motion to Remand is the latest move in their four-year campaign of equivocating

about whether MTGOX is responsible for their loss in order to focus blame on McCaleb and avoid

bankruptcy jurisdiction. When this case was originally filed in 2014, Plaintiffs chose not to serve

any of the MTGOX entities they sued to avoid triggering the automatic stay. Those entities were

in liquidation in Japan, but Plaintiffs declined to file a claim. Then, four years later, the prospects

for recovering from MTGOX unexpectedly changed as the value of bitcoins exploded. This

appreciation made the MTGOX estate flush with assets, and Plaintiffs’ Japanese counsel

successfully moved the Japanese Bankruptcy Court to initiate a new involuntary rehabilitation

proceeding in June 2018. The rehabilitation proceeding created a new window for Plaintiffs to file

a claim. At the same time, McCaleb’s October 2018 Motion for Partial Summary Judgment argued

that Plaintiffs had failed to mitigate damages. Plaintiffs responded by filing a Proof of Claim eleven

days later and referencing it in their opposition brief as evidence of mitigation. Plaintiffs then

withheld the Proof of Claim from McCaleb until they were faced with the threat of a motion to

compel. McCaleb removed the day after receiving the Proof of Claim.

       Plaintiffs created the new connection between their claims in this case to the MTGOX

bankruptcy just recently, yet their remand motion would deny McCaleb his corresponding right to


                                                  2
      Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 3 of 26




remove less than a month later. Plaintiffs cannot be rewarded for this gamesmanship and the

motion must be denied.

                      FACTUAL AND PROCEDURAL BACKGROUND

                                  MTGOX and Bitcoin generally

       Jed McCaleb is a California-based software developer and entrepreneur. In 2010, McCaleb

and his company, Code Collective, LLC (collectively “McCaleb”) created the MTGOX bitcoin

exchange. See Plaintiffs’ Original Complaint, attached as Exhibit A, at ¶¶ 11-13; see also,

Affidavit of Jed McCaleb (6/29/2016), attached as Exhibit B, at ¶¶ 2-3. Bitcoins are a form of

digital currency (or “cryptocurrency”) lacking ties to any centralized bank. Id. The MTGOX

bitcoin exchange was an online platform that allowed its users to buy and sell bitcoins with each

other. Id. At one point in time the MTGOX exchange was the world’s largest online bitcoin

exchange. See “Apparent Theft at Mt. Gox Shakes Bitcoins World,” New York Times (2/25/2014),

attached as Exhibit C. MTGOX’s rise and fall has been covered by periodicals around the globe.

Id.

                         The theft of Plaintiffs’ bitcoins and its aftermath

       In December 2010, Plaintiffs, Donald and Chris Raggio, opened an account on the

MTGOX exchange, deposited $5,000, and purchased thousands of bitcoins from other users on

the exchange. See Affidavit of Chris Raggio (11/1/2018), attached as Exhibit D, at ¶ 3; see also

Collection of E-mails, attached as Exhibit E, at 2-5. Plaintiffs allege that from January 7 to January

9, 2011, someone stole 9,406.33 bitcoins from their MTGOX account. See Exhibit D, at ¶ 6. At

the time of the alleged theft, the value of those bitcoins was approximately $3,100 ($0.33 per

bitcoin). See Exhibit B, at ¶ 6; see also Historical Bitcoin Pricing Charts from CoinDesk.com,


                                                  3
      Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 4 of 26




attached as Exhibit F. The Raggios noticed the alleged theft on January 9, 2011 and immediately

informed McCaleb. See Exhibit D, at ¶ 6; see also Exhibit B, at ¶ 7; Exhibit E, at 6. After an

investigation, McCaleb believed he might have identified the MTGOX account of the person

responsible for the unauthorized withdrawals and froze that user’s account pending further

investigation. See Exhibit D, at ¶¶ 7-9; see also Exhibit E, at 25.

       McCaleb sold the MTGOX exchange on February 11, 2011 to Mark Karpeles and Tibanne

KK, a Japanese corporation. See Exhibit B, at ¶¶ 8-10; see Exhibit D, at ¶¶ 11-15. The Raggios

began corresponding with Karpeles regarding the recovery of their allegedly stolen bitcoins. See

Exhibit D, at ¶¶ 11-15; see also Exhibit E, at 29-31-34-37. The Raggios later acknowledged that

Karpeles had taken over the investigation and “[i]t’s up to Mark [Karpeles] to see if we are able to

recover the stolen BTC.” See Exhibit E, at 28.

       On December 21, 2011, the Raggios e-mailed McCaleb, updating him on the investigation

and acknowledging that he was not responsible for “mak[ing] things right”:

               I’m not asking you to intervene on my or my father’s behalf. Mark
               is the owner of Mt Gox now. It’s his call whether he wants to make
               things right with us as he did with Bitomat. My father and I
               appreciate everything you did to investigate and pursue the thief.
               You didn’t have to go to the lengths you went to for us. We thank
               you.

See Exhibit E, at 38-39. The Raggios continued to correspond with MTGOX’s owner, Mark

Karpeles. See Exhibit E, at 29-31-34-37. According to the Raggios, Karpeles told them in March

2012 that he was not responsible for recovering their bitcoins because he only purchased

MTGOX’s assets not its liabilities. See Exhibit D, at ¶ 15. At the time, the market value of bitcoin

was $5.43, at which price the allegedly stolen bitcoins were worth approximately $51,000. See

Exhibit F.

                                                  4
      Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 5 of 26




                                     The Original Complaint

       On March 5, 2014—more than three years after the theft and after the value of the stolen

bitcoins climbed to more than $6 million—Plaintiffs filed suit in Hinds County Circuit Court in

Jackson, Mississippi. See Exhibits A and E. Plaintiffs sued MTGOX, Inc., MtGox KK, Tibanne

KK, Mutum Sigillum, LLC, Code Collective, LLC, Jed McCaleb, Mark Karpeles, and several John

Doe defendants seeking recovery of 9,406.33 bitcoins they claim were stolen from their MTGOX

account. See Exhibit A, at ¶¶ 1-9, 16, 23. Plaintiffs made claims for breach of contract, breach of

fiduciary duty, conversion, fraud, conspiracy, account stated, constructive trust, and more. See

generally Exhibit A.

                                  MTGOX declares bankruptcy

         Four days after this lawsuit was filed, MtGox Co., LTD. (a/k/a MtGox KK) filed a Chapter

15 bankruptcy petition in the Northern District of Texas Bankruptcy Court (3:14-bk-31229) (“the

Texas Bankruptcy”) seeking recognition of the civil rehabilitation proceeding it had recently

initiated in Japan. See First Verified Petition for Recognition (3/9/2014), attached as Exhibit G, at

¶¶ 9-15. Shortly thereafter the Japanese Bankruptcy Court dismissed the civil rehabilitation

proceeding and initiated a liquidation proceeding (“the Japanese Liquidation Proceeding”) because

rehabilitation was not possible. See Declaration in Support of Amended Verified Petition for

Recognition (5/23/2014), attached as Exhibit H, at ¶¶ 41-47. On June 19, 2014 the Northern

District of Texas Bankruptcy Court entered an order of recognition identifying the Japanese

Liquidation Proceeding as the operative “main” proceeding for the Texas Bankruptcy. See First

Recognition Order, attached as Exhibit I, at ¶ 2. At that time Plaintiffs had not served McCaleb

with the original complaint. See Certificate of Service on Jed McCaleb, attached as Exhibit J


                                                 5
      Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 6 of 26




(identifying August 21, 2014 as date of service). Plaintiffs never served MtGox KK, Tibanne KK,

Mutum Sigillum, LLC, or Mark Karpeles and did not file a claim in any bankruptcy proceeding

involving these parties. See Plaintiffs’ Response to Second Set of Requests for Admissions

(8/3/2017), attached as Exhibit K, at ¶¶ 1-2.

                                      The Amended Complaint

        In September 2018, Plaintiffs amended their complaint. See First Amended Complaint,

attached as Exhibit L. The amended complaint dropped all defendants except McCaleb, Code

Collective, and MTGOX, Inc. (a defunct U.S.-based subsidiary of MtGox Co., Ltd.). See Exhibit

L, at ¶¶ 2-4. Plaintiffs’ amended complaint set out extensive claims relating to the conduct of

Karpeles and MTGOX in the years after McCaleb sold the exchange. See generally Exhibit L. For

example, the amended complaint included allegations that an investment contract existed between

Plaintiffs and MTGOX entitling them to delivery of 9,406.33 bitcoins. See Exhibit L, at ¶¶ 48-54

(UCC claim against “securities intermediary” requires investment contract). Plaintiffs also claimed

MTGOX was operated “without any regard for corporate formalities, frustrating the contractual

expectations of Plaintiffs and other buyers, for the purpose of their fraudulent and wrongful

misconduct,” giving rise to piercing MTGOX’s corporate veil. See Exhibit L, at ¶¶ 27, 102-103.

And Plaintiffs alleged that MTGOX “converted . . . [the] bitcoins for [its] own use . . . by refusing

to return all of the bitcoins.” See Exhibit L, at ¶ 75.

        As for Karpeles, the owner of MTGOX, Plaintiffs claimed he falsely led them to believe

the bitcoins would be returned. See Exhibit L, at ¶ 22. Moreover, Plaintiffs alleged Karpeles was

“aware of [MTGOX’s] insolvency” but did not “notify the MTGOX users .” See Exhibit L, at ¶

27. Plaintiffs claimed Karpeles and MTGOX—together with McCaleb—conspired to deprive the


                                                   6
      Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 7 of 26




Raggios of their bitcoins. See Exhibit L, at ¶ 62. In short, the theory of the Amended Complaint is

that the MTGOX exchange was “a scam operated for the exclusive benefit” of McCaleb, Karpeles,

and others. See Exhibit L, at ¶ 103.

       Plaintiffs now seek to recover more than $165 million based on their lost $3,000

investment. See Exhibit D, at ¶¶ 11-15

                     MTGOX second bankruptcy (Rehabilitation) initiated

       By the time Plaintiffs filed the amended complaint, the meteoric rise in the value of bitcoins

had reversed MTGOX’s fortunes, making the debtor flush with assets. See Motion for

Modification, attached as Exhibit M, at ¶¶ 18-19. At one point a single bitcoin was worth more

than $11,000. See Exhibit E. As a result, Plaintiffs’ Japanese counsel (Nishimura & Asahi) asked

the Japanese Bankruptcy Court to force MTGOX into a new civil rehabilitation proceeding for the

benefit of all MTGOX creditors. See Press Release Regarding Motion to Initiate Involuntary

Rehabilitation Proceedings, attached as Exhibit N (filed by Nishimura & Asahi); see also

Plaintiffs’ Proof of Claim, attached as Exhibit O, at 1, 14 (identifying Nishimura & Asahi as

Plaintiffs’ Japanese counsel).

       In June 2018, the Japanese Bankruptcy Court ended the Japanese Liquidation Proceeding

and granted the request to initiate civil rehabilitation in its place (“the Japanese Rehabilitation

Proceeding”), with hopes of paying out all MTGOX creditors. See Exhibit M, at ¶¶ 22, 25. This

new proceeding forced all previous creditors to file new proofs of claim and opened a new window

for parties like the Raggios to file claims for the first time. See Announcement of Commencement

of Civil Rehabilitation Proceedings (English Translation), attached as Exhibit P, at 6. On October

26, 2018, the trustee in the Texas Bankruptcy filed a motion to abandon recognition of the Japanese


                                                 7
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 8 of 26




Liquidation Proceeding and to recognize the new Japanese Rehabilitation Proceeding as the

operative “main” proceeding in the Texas Bankruptcy. See Exhibit M, at ¶ 2. On December 11,

2018, this Motion was granted, and an order of recognition was entered. See Second Recognition

Order (12/11/2018), attached as Exhibit Q.

          Motion for Partial Summary Judgment, the Proof of Claim, and Removal

       On October 5, 2018, McCaleb filed a Motion for Partial Summary Judgment seeking to

limit Plaintiffs’ available damages based on their failure to mitigate damages by purchasing cover

bitcoins and/or filing a claim in the MTGOX bankruptcy. See Motion for Partial Summary

Judgment, attached as Exhibit R, at ¶¶ 4, 13. Eleven days later, on October 16, 2018, Plaintiffs

filed a claim in the MTGOX bankruptcy. See Exhibit D, at ¶ 19. Plaintiffs disclosed this fact for

the first time on November 1, 2018, when they filed their opposition brief. Id. Although McCaleb

had propounded discovery in August 2017 seeking production of any bankruptcy claims, Plaintiffs

did not supplement that discovery by producing a copy of the Proof of Claim until after McCaleb

threatened to file a Motion to Compel on January 3, 2019. See McCaleb’s Sixth Requests for

Production of Documents (8/1/2017), attached as Exhibit S, at 1-2; see also McCaleb’s Good Faith

Letter, attached as Exhibit T; Correspondence Transmitting Proof of Claim, attached as Exhibit U.

In the Proof of Claim, Plaintiffs identify this case as a “[p]ending lawsuit or administrative

proceeding related to the rehabilitation claim,” and Plaintiffs sought recovery of 9,406.33

bitcoins—the exact sum they seek from McCaleb here. See Exhibit O, at 3, 5 (emphasis added).

       One day after receiving Plaintiffs’ Proof of Claim and twenty-nine days after the Texas

Bankruptcy Court first recognized the new Japanese Rehabilitation Proceeding in which that Proof




                                                8
       Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 9 of 26




of Claims was filed, McCaleb removed this case to federal court based on bankruptcy-related

jurisdiction. See Notice of Removal (Rec. Doc. 1).

                            LEGAL ARGUMENT AND ANALYSIS

        Plaintiffs’ Motion to Remand argues there are three reasons this case should be remanded:

(1) the claims are not related to the bankruptcy because it involves non-debtor third parties; (2)

McCaleb’s removal was untimely; and, (3) McCaleb failed to obtain MTGOX, Inc.’s consent to

removal. Plaintiffs’ arguments are out of step with the facts of this case and the applicable law.

Remand therefore must be denied.

  I.    THIS CASE IS RELATED TO THE MTGOX BANKRUPTCY

        Plaintiffs contend this Court lacks jurisdiction because the claims are not bankruptcy

related. This position is directly contradicted by Plaintiffs’ own statements in their Proof of Claim

with the MTGOX bankruptcy and it is inconsistent with the law. When Plaintiffs filed their Proof

of Claim in the Japanese Rehabilitation Proceeding seeking to recover the same 9,406.33 bitcoins

from the MTGOX bankruptcy estate, they linked the MTGOX bankruptcy to this lawsuit by

making it so that the outcome of their claims in one proceeding necessarily affects the other.

           a. Plaintiffs have previously contended their claim is bankruptcy related

        Just four months ago, Plaintiffs contended this lawsuit is related to the MTGOX bankruptcy

and therefore they should be estopped from denying it now. Plaintiffs’ Proof of Claim in the

Japanese Rehabilitation Proceeding identifies this litigation as a “pending lawsuit” that is “related

to” the Japanese Rehabilitation Proceeding. See Exhibit O, at 5. The doctrine of judicial estoppel

exists “to prevent parties from playing fast and loose with the courts to suit the exigencies of self-

interest.” Brandon v. Interfirst Corp., 858 F.2d 266, 268 (5th Cir. 1988). Courts are empowered to


                                                  9
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 10 of 26




“protect the integrity of the judicial process” by using judicial estoppel. See Brandon, 858 F.2d at

268. Here, Plaintiffs are simultaneously seeking the same 9,406.33 bitcoins from both McCaleb

and the MTGOX bankruptcy estate. See generally Exhibit L and Exhibit O. Plaintiffs referred to

this case as related in the bankruptcy proceeding, while in this motion—where relatedness does

not serve their interest—they contend they are not related. Plaintiffs’ argument should be rejected

on this basis alone.

           b. Because Plaintiffs seek recovery of the same 9,406.33 bitcoins from both
              McCaleb and the MTGOX estate, the outcome will “conceivably” impact the
              MTGOX estate

       The bar for establishing bankruptcy-related jurisdiction is extremely low. The United

States Supreme Court explained that a matter is related when “the outcome of that proceeding

could conceivably have any effect on the estate being administered.” See Celotex Corp. v.

Edwards, 514 U.S. 300, 308 n. 6 (1995) (quoting Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d.

Cir. 1984)) (emphasis added); see also Matter of Wood, 825 F.2d 90 (5th Cir. 1987) (applying

Pacor test). Elaborating on this standard, the Court stated “[a]n action is related to bankruptcy if

the outcome could alter the debtor’s rights, liabilities, options, or freedom of action (either

positively or negatively).” Id. Therefore, McCaleb need only show that this case “could

conceivably” have an impact of some sort on the MTGOX estate’s “rights, liabilities, options, or

freedom of action.” Id.

       As explained above, Plaintiffs seek the exact same 9,406.33 bitcoins from two sources: (1)

McCaleb, through this lawsuit, and (2) the MTGOX estate, through the Japanese Rehabilitation

Proceeding. Of course, the outcome of one proceeding will necessarily affect the other now that

Plaintiffs have filed a Proof of Claim. If Plaintiffs recover 9,406.33 bitcoins from McCaleb, it


                                                10
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 11 of 26




could moot Plaintiffs’ claim against the MTGOX estate, thereby reducing its liabilities. As the

Supreme Court explained in Celotex, it does not matter whether the effect on the estate is positive

or negative so long as there is the potential for the estate to be altered. See Celotex Corp., 514 U.S.

at 308 n. 6. Elimination of a claim on the estate affects the liabilities of the estate. Therefore, this

case is clearly related to the MTGOX bankruptcy, giving this court jurisdiction over the claims.

       The parties, facts, allegations, and relief in these two actions are so deeply intertwined that

it would be impossible to set out every “conceivable” way in which the MTGOX estate could be

affected. While the scenario above is the most obvious way this case is related to the MTGOX

bankruptcy, other examples also illustrate how this litigation could conceivably have an effect on

the MTGOX estate:

       •   Specific Performance – Plaintiffs seek specific performance from McCaleb
           and MTGOX, Inc. to compel delivery of the 9,406.33 bitcoins stolen from their
           account in 2011. This is based, in part, on Plaintiffs’ claim that the MTGOX
           entities breached an investment contract with them. Plaintiffs claim these
           bitcoins are held by the MTGOX estate in association with frozen and
           suspicious accounts. See Exhibit A, at ¶ 23 (“those bitcoins are still under the
           care and control” of MTGOX); see also, Exhibit E, at 31. Specific performance
           ordering delivery of these bitcoins would necessarily affect the estate (while
           simultaneously violating the automatic stay).

       •   Piercing the Corporate Veil – Plaintiffs’ amended complaint makes claims
           against MTGOX, Inc. for “piercing the corporate veil.” See Exhibit K, at ¶ 102-
           103. Because MTGOX, Inc. is a defunct subsidiary of MtGox KK, these claims
           could conceivably impact the MTGOX bankruptcy estate. See Delaware
           Secretary of State Documents, attached as Exhibit V; see also, Green
           Complaint, attached as Exhibit W, at ¶¶ 7-10 (MtGox Inc. is a subsidiary of
           MtGox KK and Tibanne KK).

       •   Application of Defenses – If McCaleb prevails on any one of an array of
           defenses—such as statute of limitations—Plaintiffs’ claims against the estate
           could conceivably be eliminated on the basis of res judicata.




                                                  11
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 12 of 26




        •   Settlement – If McCaleb settles the claim or is found liable for some amount
            less than the value of 9,406.33 bitcoins, then Plaintiffs’ bankruptcy claim could
            be reduced. The same is true if McCaleb successfully obtains a ruling that
            would limit Plaintiffs’ damages due to their failure to cover and/or mitigate their
            alleged losses. Because Plaintiffs are attempting to recover the same assets
            from two sources, these two claims are directly linked. Recovery from one
            source necessarily impacts the liabilities of the other source.

        •   Indemnity – If Plaintiffs obtain a judgment against McCaleb, he is entitled to
            indemnity from the MTGOX estate. McCaleb has made an indemnity demand
            on the MTGOX estate that corresponds to Plaintiffs’ Proof of Claim. See
            McCaleb Indemnity Demand, attached as Exhibit X. As a result, the outcome
            of this litigation will necessarily impact the MTGOX estate. Plaintiffs’ own
            case law from this court—Berry, 316 B.R. at 886—establishes that litigation is
            bankruptcy related if a party is owed indemnity by the debtor.

        •   Transfer of Liabilities – Plaintiffs argue there is a dispute as to whether the
            liabilities for the alleged theft of the Raggios’ bitcoins transferred to Karpeles
            and the MTGOX entities after the sale. See Exhibit L, at ¶ 24. A court must
            resolve this issue and it will necessarily impact the liabilities of the estate one
            way or another.


These examples of how in this case “could conceivably” alter the MTGOX estate’s “rights,

liabilities, options, or freedom of action (either positively or negatively)” establish that jurisdiction

exists here. Plaintiffs state that “[t]hose cases in which courts have upheld ‘related to’ jurisdiction

over third-party actions do so because the subject of the third-party dispute is property of the estate,

or because the dispute over the asset would have an effect on the estate.” See Plaintiffs’ Memo in

Support of Motion to Remand (Rec. Doc. 8), at 10 (quoting Matter of Zale Corp., 62 F.3d 746,

753 (5th Cir. 1995)). This is precisely the case here.

            c. Plaintiffs’ arguments require them to misrepresent the nature of their claims

        Although Plaintiffs argue that their claims relate only to McCaleb’s conduct and not

MTGOX, that is demonstrably false. See, e.g., Plaintiffs’ Memo in Support of Motion to Remand

(Rec. Doc. 8), at 12 (“it is Jed McCaleb’s and Code Collective’s actions and misrepresentations—

                                                   12
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 13 of 26




wholly exclusive from MtGox Co., Ltd.—that form the basis of this suit.”). To the contrary,

Plaintiffs’ conduct during the past eight years establishes that MTGOX’s conduct and its assets

are central to Plaintiffs’ claims.

        In 2011, Plaintiffs regularly corresponded with Karpeles regarding recovery of their

bitcoins and now claim he deliberately misled them into believing he had “put [their bitcoins] into

safekeeping” and that those bitcoins “would be delivered as soon as he obtained legal authority.”

See Plaintiffs’ Answer to Petition for Permission to Appeal, attached as Exhibit Y, at 6. In 2012,

Plaintiffs hired Japanese lawyers to investigate MTGOX and its owners with respect to the stolen

bitcoins. See Exhibit A, at ¶ 22. In 2014, Plaintiffs filed suit against MTGOX and its parents,

subsidiaries, and individual owner based on the theft of 9,406.33 bitcoins from their account on

the MTGOX exchange. See Exhibit A. In 2018, Plaintiffs’ amended complaint maintained the

MTGOX exchange was a “fraud,” an ongoing “conspiracy,” and “a scam operated for the exclusive

benefit” of McCaleb, Karpeles, and others. See Exhibit L, at ¶¶ 61-64, 92-93, 103. In fact, in that

amended complaint Plaintiffs’ allegations against McCaleb are based on the fact that he allegedly

“play[ed] an integral role in MTGOX operations long after the sale.” See Exhibit L, at ¶ 18

(emphasis added). Later in 2018 Plaintiffs filed a Proof of Claim in the Japanese Rehabilitation

Proceeding seeking from MTGOX the same 9,406.33 bitcoins they seek from McCaleb in this

case. See Exhibit O.

        Throughout the past eight years, Plaintiffs have consistently alleged negligent, fraudulent,

and/or willful conduct on the part of MTGOX entities after McCaleb sold the exchange in 2011.

Even the claims against McCaleb are based on his alleged post-sale work for MTGOX. To claim

now that “it is Jed McCaleb’s and Code Collective’s actions and misrepresentations—wholly


                                                13
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 14 of 26




exclusive from MtGox Co., Ltd.—that form the basis of this suit” is a litigation-driven

misrepresentation. See Plaintiffs’ Memo in Support of Motion to Remand (Rec. Doc. 8), at 12.

Plaintiffs want to pursue claims against MTGOX in bankruptcy court and keep the same claims

against McCaleb in state court by pretending there is no nexus between the two. But the claims

themselves, not Plaintiffs’ self-serving characterizations of the claims, show the centrality of

MTGOX to this lawsuit.

           d. When Plaintiffs filed their Proof of Claim, it created bankruptcy-related
              jurisdiction

       The filing of the Proof of Claim in the Japanese Rehabilitation Proceeding (and its

subsequent recognition in the U.S. bankruptcy courts) created bankruptcy-related jurisdiction in

this case for the first time. Given that Plaintiffs seek to recover the same 9,406.33 bitcoins from

both McCaleb and the MTGOX estate, it is now beyond question that this litigation is related to

the bankruptcy. Plaintiffs are, at most, entitled to the 9,406.33 bitcoins they lost and, therefore,

any recovery against either McCaleb or the MTGOX estate will be inextricably linked to the

remaining claim against the other. Otherwise, to accept Plaintiffs’ position would be to condone a

double recovery.

       Plaintiffs contend that this case is not bankruptcy related because it “involves exclusively

non-debtor third parties.” See Plaintiffs’ Memo in Support of Motion to Remand (Rec. Doc. 8), at

9. The Supreme Court in Celotex rejected a bright-line rule like the one proposed by Plaintiffs

here, stating that “the proceeding need not necessarily be against the debtor or against the debtor’s

property” and that bankruptcy-related jurisdiction extends beyond “more than simple proceedings

involving the property of the debtor or the estate.” See Celotex Corp., 514 U.S. at 308 n. 6.

Nevertheless, before filing their Proof of Claim, Plaintiffs argument had some weight as it was

                                                 14
       Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 15 of 26




difficult to see how the lawsuit would impact the rights and liabilities of the MTGOX bankruptcy

estate absent a viable claim in the Japanese Liquidation Proceeding.

        But the Proof of Claim made it undeniable that this lawsuit was bankruptcy-related. Most

importantly gave Plaintiffs the potential right to recover from the MTGOX bankruptcy estate.

Also, the “res” of the two cases is now identical, removing the shroud of uncertainty. None of the

cases Plaintiffs cite involve a plaintiff making simultaneous claims against a debtor and a non-

debtor for the same asset. Likewise, none of those cases involve a proof of claim filed in an active

bankruptcy proceeding. In particular, the only case from this Circuit that Plaintiffs rely on is

Coward v. AC and S, Inc., 91 F.App’x 919, 923 (5th Cir. 2004)—an unpublished opinion bearing

little resemblance to this case and carrying no precedential value. See 5th Cir. R. 47.5.4. In

Coward, the Fifth Circuit addressed the situation in which there was no claim made on the

bankruptcy estate at all. Id., at 923-24. This case, on the other hand, is not one where the court is

presented with “a precursor to a claim against the debtor”—instead, Plaintiffs have made an

identical claim against the debtor itself. Id. Because Plaintiffs are “litigant[s] [who] ha[ve] brought

a direct claim” against the debtor, even Coward supports jurisdiction here. Id.

 II.    REMOVAL WAS TIMELY

        Plaintiffs’ next attack on McCaleb’s removal is timeliness. Plaintiffs contend McCaleb

should have removed in 2014 when the Japanese Liquidation Proceeding was first recognized.

This argument is both disingenuous and irrelevant. Three independent bases support the timeliness

of removal here: (1) Rule 9027, (2) Section 1446(b)(3), and (3) Rule 9006(b). When the Texas

Bankruptcy Court entered the Second Recognition Order on December 11, 2018 recognizing for

the first time a proceeding in which Plaintiffs had filed a Proof of Claim, a window for removal


                                                  15
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 16 of 26




was opened. For Plaintiffs to contend that the removal is untimely because McCaleb did not

remove it earlier is inconsistent with their position that this case is not (and never was) removable

because it is not bankruptcy-related. Plaintiffs’ timeliness arguments underscore their attempt to

game the system by pursuing claims against the MTGOX bankruptcy estate while avoiding its

connection to this lawsuit.

           a. The Japanese Rehabilitation Proceeding is either an entirely new proceeding or
              a conversion, both of which constitute a new order for relief under Rule
              9027(a)(2)

       Federal Rule of Bankruptcy Procedure 9027(a)(2)(A) allows removal “within . . . 90 days

after the order for relief” is entered in a bankruptcy case. There is no dispute that McCaleb removed

the case within 90 days of the Texas Bankruptcy Court’s December 11, 2018 recognition of the

Japanese Rehabilitation Proceeding. The only question raised by Plaintiffs is whether the

recognition of the Japanese Rehabilitation Proceeding constituted an order for relief under the

Bankruptcy Code. See Plaintiffs’ Memo in Support of Motion to Remand (Rec. Doc. 8), at 2-4.

The answer is that it did: the recognition of the Japanese Rehabilitation Proceeding is either a new

proceeding or a conversion, both of which are orders for relief.

                      i.   The recognition of a foreign proceeding is an order for relief

       Plaintiffs admit that an order recognizing a foreign proceeding is an “order for relief” under

the Bankruptcy Code. See Plaintiffs’ Memo in Support of Motion to Remand (Rec. Doc. 8), at 2-

3. As the Southern District of New York explained in In re Fairfield Sentry Ltd., 452 B.R. 52

(S.D.N.Y. 2011), “[t]he first step to obtaining relief under chapter 15 . . . is receiving recognition

of the foreign proceeding.” Id., at 63 (quoting In re SPhinX, Ltd., 351 B.R. 103, 115




                                                 16
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 17 of 26




(Bankr.S.D.N.Y. 2006)). Therefore, “the Recognition Date is properly deemed the date of the order

for relief.” Id.

                       ii.    The Japanese Rehabilitation Proceeding is an entirely new proceeding,
                              and its recognition is, therefore, a new order for relief

          While “the Recognition Date is properly deemed the date of the order for relief,” Plaintiffs

maintain that McCaleb should have removed the case in June 2014 (two months before McCaleb

was even served) when the Texas Bankruptcy Court recognized the Japanese Liquidation

Proceeding. See Plaintiffs’ Memo in Support of Motion to Remand (Rec. Doc. 8), at 3. But, the

Japanese Rehabilitation Proceeding is an entirely new proceeding, and the order recognizing it is

a new order for relief. See Exhibit L, at ¶¶ 18-19, 30-31; see also, English Translation of Japanese

Court Order (Ex. 2 to Motion for Modification), attached as Exhibit Z, at ¶ 1; Exhibit P. When the

Japanese Rehabilitation Proceeding was initiated, the entire Japanese bankruptcy process started

over. For example, creditors that filed proofs of claim in the Japanese Liquidation Proceeding were

required to file new proofs of claim in the Japanese Rehabilitation Proceeding. See Exhibit P, at 6.

And creditors that had not filed proofs of claim—such as Plaintiffs—were able to file proofs of

claim for the first time. See Exhibit P, at 2. Plaintiffs’ Motion to Remand argues that McCaleb had

to remove shortly after recognition of the Japanese Liquidation Proceeding, and so it is based on

the wrong order for relief.

          An “order for relief” is merely “an adjudication under the Bankruptcy Act” that makes a

“determination of the debtor’s status in bankruptcy.” See In re HealthTrio, Inc., 653 F.3d 1154,

1157 (10th Cir. 2011). The recognition of the Japanese Rehabilitation Proceeding therefore is an

order for relief. In its December 11, 2018 Second Recognition Order the Texas Bankruptcy Court

stated:

                                                  17
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 18 of 26




                The Second Rehabilitation Proceeding is recognized, nunc pro tunc
                to June 22, 2018, as a foreign main proceeding pursuant to sections
                1517(a) and 1517(b) of the Bankruptcy Code, and all of the effects
                of recognition as set forth in section 1520 of the Bankruptcy Code
                shall apply.

See Exhibit Q, at ¶ 6. This ruling was based on a finding that the Trustee in the Japanese

Rehabilitation Proceeding was “entitled to all relief” provided under the Bankruptcy Code. See

Exhibit Q, at ¶ M. The Texas Bankruptcy Court further stated that “[t]he First Recognition Order

is superseded by this Order” and that the Japanese Liquidation Proceeding “is no longer

recognized” as the operative proceeding in the Texas Bankruptcy. See Exhibit Q, at ¶¶ 2-3. By

conveying “all of the effects of recognition as set forth in section 1520” and providing “all relief”

to the Japanese Rehabilitation Proceeding, the Texas Bankruptcy Court manifested a clear intent

to enter an “order for relief” as defined in the Bankruptcy Code.

        Plaintiffs can cite no case-law that suggests a Chapter 15 modification formally

recognizing a new proceeding is not an order for relief. As demonstrated above, the Order carries

all the same effects as an order for relief. Plaintiffs resort to an out-of-context quote from the

Second Recognition Order where it states that “[n]othing in this Order shall be deemed to affect

the validity or enforceability of this Court’s prior Orders in this Chapter 15 case, except as set forth

in this Order.” See Plaintiffs’ Memo in Support of Motion to Remand (Rec. Doc. 8), at 4. The

important language here is “except as set forth in this Order.” See Exhibit Q, at ¶ 5. This provision

is a catch-all protecting the validity of prior orders like those admitting attorneys pro hac vice or

approving a settlement agreement with the U.S. government. See generally, Docket of Texas

Bankruptcy Court (3:14-bk-31229), attached as Exhibit AA. The language Plaintiffs quote does




                                                  18
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 19 of 26




not abrogate the Order’s new relief relating to the rights and status of the Japanese Rehabilitation

Proceeding.

           “A central tenet of chapter 15 is the importance of comity in cross-border insolvency

proceedings.” In re Rede Energia S.A., 515 B.R. 69, 89 (Bankr.S.D.N.Y. 2014). Treating the

recognition of the Japanese Rehabilitation Proceeding as a new order for relief is consistent with

the principles of Chapter 15 because the Japanese Bankruptcy Court treated this proceeding as a

separate, new proceeding that required, among other things, filing of new proofs of claims for all

debtors, re-approval of the trustee, and a new window for filing proofs of claims. See Exhibit P, at

1, 4, 6.

                      iii.   Chapter 15’s broad, flexible rules are designed to prevent inequities like
                             those presented here, where Plaintiffs simultaneously seek to exploit the
                             new proceeding’s filing window while denying that McCaleb has a
                             corresponding opportunity to remove

           Importantly, this new proceeding re-opened the window of time for Plaintiffs’ to file a

Proof of Claim. See Exhibit Z. Plaintiffs took advantage of this new filing window but argue the

Court should deny McCaleb a corresponding right to remove. Chapter 15 gives courts “broad,

flexible rules to fashion relief” that protects both the parties and the interests of comity. See In re

Rede Energia S.A., 515 B.R. at 91. Plaintiffs’ narrow interpretation of the Second Recognition

Order would undermine these principles by allowing Plaintiffs to exploit differences between the

Japanese and U.S. bankruptcy procedures to give themselves recourse to the bankruptcy process

while simultaneously denying McCaleb the protections of federal court.




                                                   19
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 20 of 26




                     iv.    The balance of the Bankruptcy Code also treats a conversion as a new
                            order for relief

        Just as Chapter 15 treats the recognition of the Japanese Rehabilitation Proceeding as a

new order for relief, so too does Chapter 11, and the two chapters are in pari materia and should

be construed together. In contrast to the Japanese Bankruptcy, where the court initiated an entirely

new proceeding in order to change the liquidation into a rehabilitation, a U.S. bankruptcy court

can simply convert a case from one chapter (Chapter 7 liquidation) to another (Chapter 11

rehabilitation). See 11 U.S.C. § 348. If the Court does not find that the Japanese Rehabilitation

Proceeding as a new proceeding for Chapter 15 purposes, then it should treat it as a conversion

instead. Under the Bankruptcy Code, a conversion from liquidation to rehabilitation is treated as a

new order for relief. See 11 U.S.C. § 348(a) (“Conversion of a case from a case under one chapter

of this title to a case under another chapter of this title constitutes an order for relief”).

        The Fifth Circuit has historically read Chapter 15 in pari materia with the rest of the

Bankruptcy Code. See, e.g., Firefighters’ Retirement System v. Citco Group, Ltd., 796 F.3d 520,

527 (5th Cir. 2015). Under the rule of in pari materia, statutes that pertain to the same subject

“should be construed as if they were one law” and a law bearing on similar subject matter is

“entitled to great weight in resolving any ambiguities and doubts.” See Erlenbaugh v. U.S., 409

U.S. 239, 243-44 (1972). Pursuant to this rule of interpretation, a modification under Chapter 15

from liquidation to rehabilitation should be read consistent with the other chapters of the

Bankruptcy Code that hold a conversion from liquidation to rehabilitation constitutes a new order

for relief. See 11 U.S.C. § 348(a).




                                                   20
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 21 of 26




           b. McCaleb’s receipt of the Second Recognition Order and Plaintiffs’ Proof of
              Claim both triggered a separate 30-day window under Section 1446(b)(3)

       McCaleb’s removal was also timely because it was within thirty days of his “receipt of . .

. [an] order or other paper” making the case removable. See 28 U.S.C. § 1446(b)(3). McCaleb

removed twenty-nine days after the December 11, 2018 order recognizing the Japanese

Rehabilitation Proceeding and one day after Plaintiffs gave McCaleb their Proof of Claim in the

Japanese Rehabilitation Proceeding. See Exhibit Q and Exhibit U. Because MTGOX is now

potentially a solvent entity and Plaintiffs have filed a claim against it, these filings made this case

related to the MTGOX bankruptcy. See Section I, supra. At the time the original complaint was

filed, no U.S. bankruptcy existed that would make this case removable. Furthermore, as discussed

above, prior to the filing of Plaintiffs’ Proof of Claim this case was likely not bankruptcy related.

See Section I(d) supra.

       Plaintiffs cite several cases applying Rule 9027 in bankruptcy-related removals to the

exclusion of § 1446(b)(3). See Plaintiffs’ Memo in Support of Motion to Remand (Rec. Doc. 8),

at 4-5. While McCaleb agrees that Rule 9027 applies, timely removal under Section 1446(b)(3)

can also be valid. The cases cited by Plaintiffs simply stand for the proposition that the longer time

period for removal applies when Section 1446(b)(3) and Rule 9027 are in conflict. See Everett,

329 B.R. at n. 1 (applying 9027 but noting removal was timely under both). Here, removal is timely

under both and, as a result, both apply.

       Finally, Plaintiffs appear to suggest that McCaleb is removing on the basis of diversity. See

Plaintiffs’ Memo in Support of Motion to Remand (Rec. Doc. 8), at 4 (“the notice of removal also

looks to 28 U.S.C. § 1446(b)(3) for the proposition that removal on diversity grounds is proper . .

.”). For the avoidance of any doubt, McCaleb is not relying on diversity as a basis for removal.

                                                  21
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 22 of 26




The removal is based on bankruptcy-related jurisdiction that was created by the recognition of the

Japanese Rehabilitation Proceeding and the filing of Plaintiffs’ Proof of Claim therein.

           c. The Court also has discretion in extraordinary circumstances, like these, to allow
              removal out of time

       Finally, if the Court is not persuaded that removal was timely under either Rule 9027 or

Section 1446(b)(3), the Court should use its discretion under Rule 9006 to allow removal out of

time. See Fed. R Bankr. P. 9006. Plaintiffs raise a procedural objection by claiming McCaleb did

not file a formal motion for extension. See Plaintiffs’ Memo in Support of Motion to Remand (Rec.

Doc. 8), at 6. But, the Notice of Removal clearly moves the court for enlargement of time pursuant

to Rule 9006, and the Court may grant that motion. See Notice of Removal (Rec. Doc. 1), at ¶ 21.

Therefore, Plaintiffs’ procedural objection has no merit.

       In exercising their discretion under Rule 9006, “courts are necessarily entrusted with broad

equitable powers to balance the interests of the affected parties.” Pioneer Inv. Services Co. v.

Brunswick Associates Ltd. Partnership, 507 U.S. 380, 389 (1993). Here, equity dictates that

McCaleb’s removal be allowed if the Court concludes it is untimely.

       There is no dispute that this case presents extraordinary circumstances. A Japanese

company that Plaintiffs recently acknowledge has the property they seek to recover from McCaleb

in this litigation has been converted from liquidation to rehabilitation mid-lawsuit. Plaintiffs,

apparently in an effort to avoid removal based on bankruptcy-related jurisdiction, did not file a

proof of claim in the liquidation proceeding. Only after the MTGOX estate was converted to a

rehabilitation and after McCaleb highlighted the lack of a proof of claim as a failure to mitigate

damages - did Plaintiffs file their Proof of Claim. Plaintiffs then withheld the Proof of Claim from

McCaleb until he threatened to file a motion to compel. See Exhibits S, T, and U. And the Texas

                                                22
       Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 23 of 26




Bankruptcy Court did not recognize the Japanese Rehabilitation Proceeding until December 11,

2018. Plaintiffs have concealed the connection of their claims to the MTGOX bankruptcy estate

to take advantage of possible recovery in bankruptcy while attempting to prevent McCaleb from

availing himself of federal jurisdiction based on that very bankruptcy. This behavior cannot be

rewarded, and McCaleb respectfully requests that the Court deny Plaintiffs’ Motion to Remand.

III.    THE RULE OF UNANIMITY DOES NOT APPLY

        Plaintiffs’ third argument—that remand is appropriate because McCaleb failed to obtain

consent from the other co-defendant, MTGOX, Inc.—has been rejected by this Court on several

occasions. In Everett v. Friedman’s Inc., 329 B.R. 40 (S.D. Miss. 2005), this Court stated that “the

rule of unanimity, which derives from 28 U.S.C. § 1441, does not apply to bankruptcy removals

under § 1452, which permits removal by ‘a party.’” Id., at 41-42 (citing Beasley v. Personal

Finance Corp., 279 B.R. 523, 529 (S.D. Miss. 2002)). McCaleb removed under Section 1452’s

bankruptcy-related provisions; diversity has nothing to do with the matters before this court.

Because Section 1452 allows removal by any “party,” rather than by “the defendants” as in Section

1441(a), McCaleb’s removal was procedurally proper. Plaintiffs’ reliance on Berry v. Pharmacia

Corp. is unavailing, as Judge Lee’s opinion in that case does not even address the rule of unanimity.

316 B.R. 883 (S.D. Miss. 2004).

        Even if consent were required, obtaining consent from MTGOX, Inc. was impossible.

Though MTGOX, Inc. was originally served in this case, it never answered the complaint and has

no representation in this matter. That is because MTGOX, Inc. forfeited its Delaware corporate

status in 2014 and no longer exists. See Exhibit V. Even if McCaleb was required to obtain consent

from all parties, it would have been impossible to obtain consent from MTGOX, Inc. Courts in


                                                 23
      Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 24 of 26




other jurisdictions have held that the failure to obtain the consent of a defunct corporation is not a

violation of the rule of unanimity. See, Maryland v. Exxon Mobil Corp., -- F.3d --, 20118 WL

5296045, *25 (D. Mary. 2018) (“not possible for GPMI to give its consent to removal” because

defunct). Therefore, even under Plaintiffs’ erroneous description of the law the removal was

proper.

IV.       PLAINTIFFS’ REQUEST FOR ATTORNEYS’ FEES IS WITHOUT MERIT

          Plaintiffs’ claim for costs and attorneys’ fees must also be rejected. The United States

Supreme Court has explained that such an award is only proper where “the removing party lacked

an objectively reasonable basis for seeking removal.” Martin v. Franklin Capital Corp., 546 U.S.

132, 141 (2005). Where authority existed from some court “arguably supporting” removal, the

Fifth Circuit has considered it an abuse of discretion to award attorneys’ fees and costs. See Omega

Hosp., L.L.C. v. Louisiana Health Service & Indem. Co., 592 F.App’x 268, 272 (5th Cir. 2014).

The Fifth Circuit has also stated that an objectively reasonable basis exists where “apparent

uncertainty” exists because “[t]he Fifth Circuit has not yet spoken directly on the issue.” See

Riverside Const. Co., Inc. v. Entergy Mississippi, Inc., 626 F.App’x 443, 447 (5th Cir. 2015). Even

if the court concludes remand is appropriate, it cannot be said that McCaleb lacked an objectively

reasonable basis for his removal. Plaintiffs demand for attorneys’ fees and costs therefore must be

denied.

                                          CONCLUSION

          WHEREFORE, for the reasons stated above, McCaleb respectfully requests that Plaintiffs’

Motion to Remand be denied.




                                                 24
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 25 of 26




       Respectfully submitted, this the 4th day of March, 2019.


                                                    JED McCALEB and
                                                    CODE COLLECTIVE, LLC


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                                               25
     Case 3:19-cv-00022-HTW-LRA Document 13 Filed 03/04/19 Page 26 of 26




                               CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2019, I served a true and correct copy of the foregoing

document via electronic mail to the following counsel of record:

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       THIS, the 4th day of March, 2019.

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                                               26
